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FOR THE WESTERN D|STR|CT OF TENNESS _. : l9
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UN|TED STATES OF AN|ER|CA
Plaintiff,

VS. CR. NO. 04-20359-01-M|

OMAR VERDUGO
Defendant.

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ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came on to be heard on July 1,2005l the United States Attorney for this
district, David Henry, appearing for the Government and the defendant, Omar Verdugo,
appearing in person and with counsel, Dan Johnson, who represented the defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for TUESDAY, OCTOBER 4, 2005, at
9:00 A.M., before Judge Jon Phipps McCa|la.

Defendant is remanded to the custody of the U. S. lVlarshal.

ENTERED this the_{day ofJuly, 2005.

Witth

JON PH|PPS MC CALLA
UNi ED STATES D|STR|CT COURT

This document entered on the docket sheet in compliance
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UNITED `SATES DISTRIC COUR - W"'ERNT D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 174 in
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Honorable J on McCalla
US DISTRICT COURT

